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 6
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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00236-JAM

12                                Plaintiff,              STIPULATION AND PROTECTIVE ORDER

13                          v.                            DATE: December 21, 2015
                                                          COURT: Hon. Kendall J. Newman
14   NELLIE KESOYAN,

15                                Defendants.

16

17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorney Jeremy J. Kelley, and defendant Nellie Kesoyan, by and through her counsel of record, Alan J.

19 Donato, hereby stipulate as follows:

20          1. The discovery in this case is several hundred pages, and contains personal information

21 including, but not limited to, social security numbers, dates of birth, telephone numbers, email

22 addresses, and medical information (hereinafter “Protected Information”).

23          2. In the absence of a protective order, numerous redactions would be necessary to avoid the

24 unauthorized disclosure or dissemination of Protected Information to individuals not party to the court

25 proceedings in this matter. It is possible, given the nature of the evidence, that there may be Protected

26 Information that is inadvertently omitted during the redaction process.

27          3. By this stipulation, the parties jointly request that the Court issue a protective order pursuant

28 to Rule 16(d) of the Federal Rules of Criminal Procedure and the Court’s general supervisory authority.


      STIPULATION AND [PROPOSED]                          1
      PROTECTIVE ORDER
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 1          4. The Protective Order applies to all discovery containing Protected Information, including

 2 discovery that may be forthcoming. Discovery that does not contain Protected Information is not subject

 3 to the Protective Order.

 4          5. Defense counsel shall not give documents that contain Protected Information (or copies of

 5 such documents) to any person other than counsel’s staff, investigator(s), or retained expert(s)

 6 (hereinafter “Defense Team”). The terms “staff,” “investigator,” and “expert” shall not be construed to

 7 describe the defendant, or other person not: (1) regularly employed by counsel, or (2) licensed as an

 8 investigator, or (3) retained as an expert. The Defense Team shall not provide to any person copies or

 9 documents unless Protected Information has been redacted.

10          6. The defendant may review the Protected Information and be aware of its contents, but neither

11 defense counsel nor the Defense Team shall provide copies of Protected Information to the defendant or

12 allow the defendant to copy documents contacting Protected Information. Counsel may provide the

13 defendant with copies of documents from which Protected Information has been redacted.

14          7. Social security numbers, birth dates, and residential addresses made in all public filings shall

15 be made pursuant to Federal Rule of Criminal Procedure 49.1.

16          8. Nothing in this stipulation will be construed to prevent defense counsel, and the Defense

17 Team a reasonable opportunity to prepare.

18          9. In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

19 withhold documents containing Protected Information from new counsel unless and until substituted

20 counsel agrees also to be bound by this order.

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      STIPULATION AND [PROPOSED]                         2
      PROTECTIVE ORDER
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 1        IT IS SO STIPULATED.

 2

 3        Dated: December 21, 2015                          BENJAMIN B. WAGNER
                                                            United States Attorney
 4

 5                                                   By:    /s/ Jeremy J. Kelley
 6                                                          JEREMY J. KELLEY
                                                            Assistant U.S. Attorney
 7

 8

 9                                                   By:    /s/ Jeremy J. Kelley for
                                                            ALAN J. DONATO
10                                                          Counsel for Nellie Kesoyan
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12

13                                            ORDER
14        For good cause shown, the stipulation of counsel in criminal case no. 2:15-CR-00236-JAM is
15 approved and so ordered

16        Dated: December 21, 2015
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     STIPULATION AND [PROPOSED]                     3
     PROTECTIVE ORDER
